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 9
                                    UNITED STATES DISTRICT COURT
10
                                 NORTHERN DISTRICT OF CALIFORNIA
11
                                           SAN JOSE DIVISION
12

13   UNITED STATES OF AMERICA,       )                CASE NO.
                                                                  CR 22-70030-MAG
                                     )
14        Plaintiff,                 )                NOTICE OF PROCEEDINGS ON OUT-OF-
                                     )                DISTRICT CRIMINAL CHARGES PURSUANT TO
15     v.                            )                RULES 5(c)(2) AND (3) OF THE FEDERAL
                                     )                RULES OF CRIMINAL PROCEDURE
16   ARTHUR ISMAEL ARELLANO MORALES, )
                                     )
17        Defendant.                 )
                                     )
18

19         Please take notice pursuant to Rules 5(c)(2) and (3) of the Federal Rules of Criminal Procedure
20 that on January 13, 2022, the above-named defendant was arrested pursuant to an arrest warrant (copy

21 attached) issued upon an

22         □       Indictment
23         □       Information
24         □       Criminal Complaint
25         X       Other (describe): Petition for Offender Under Supervision
26 pending in the Southern District of California, Case Number 17-CR-3570-MMA (see attached).

27         The maximum term of imprisonment upon revocation is 5 years.
28


                                                                                               v. 7/10/2018
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 1                                                 Respectfully Submitted,

 2                                                 STEPHANIE M. HINDS
                                                   ACTING UNITED STATES ATTORNEY
 3

 4 Date: January 13, 2022                           /s/
                                                   ANDREW LIAO
 5                                                 Assistant United States Attorney
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                                                                                  v. 7/10/2018
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